          Case 1:23-cv-10313-PKC Document 20 Filed 04/01/24 Page 1 of 2




                              UNITED STATES U.S. DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------- X
CHINA UNITED LINES, LTD, a China                        :
company,                                                :
                                                        :
                       Plaintiff,                       : NOTICE OF MOTION TO DISMISS
                                                        :
         -against-                                        CIV. NO. 1-23-cv-10313-PKC
                                                        :
                                                        :
AMAZON.COM SERVICES LLC, a                              :
Delaware limited liability company,                     :
                                                        :
                       Defendant.
                                                        :
                                                        :
------------------------------------------------------- X

         PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in

Support of Defendant’s Motion to Dismiss Plaintiff’s Second Amended Complaint, the

Declaration of Robert Miller and accompanying exhibits, and all other papers and proceedings

herein, Defendant Amazon.com Services LLC (“Amazon”) will move this Court, before the

Honorable P. Kevin Castel, United States District Judge for the Southern District of New York,

on a date and time to be set by the Court, for an Order dismissing the Second Amended

Complaint with prejudice pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure. The

basis for the motion is set forth in the accompanying memorandum of law.

               Pursuant to the March 11, 2024 briefing schedule ordered by the Court (Dckt. #

18), answering papers shall be served on or before April 26, 2024, and reply papers served on or

before May 13, 2024.



Dated:    April 1, 2024                     Respectfully Submitted,
          New York, New York
                                            K&L GATES LLP
Case 1:23-cv-10313-PKC Document 20 Filed 04/01/24 Page 2 of 2




                           By: /s/ Benjamin I. Rubinstein
                           Benjamim I. Rubinstein
                           599 Lexington Ave.
                           New York, NY 10022
                           Tel:     (212) 536-3900
                           Fax: (212) 536-3901
                           Email: benjamin.rubinstein@klgates.com

                           Jeffrey C. Johnson (admitted pro hac vice)
                           K&L Gates LLP
                           925 4th Avenue, Suite 2900
                           Seattle, WA 98104
                           Tel: (206) 623-7580
                           Fax: (206) 623-7022
                           Email: jeffrey.johnson@klgates.com

                           Attorneys for Defendant
